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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Charlottesville Division


 DR. ROBERT W. MALONE                       )
                                            )
         Plaintiff,                         )
                                            )
 v.                                         )          Case No. 3:22-cv-63
                                            )
                                            )          TRIAL BY JURY
 PETER R. BREGGIN, MD,                      )          IS DEMANDED
 GINGER ROSS BREGGIN,                       )
 AMERICA OUT LOUD,                          )
 DR. JANE RUBY                              )
                                            )
 -and-                                      )
                                            )
 RED VOICE MEDIA                            )
                                            )
         Defendants.                        )
                                            )



                                COMPLAINT
         Plaintiff, Dr. Robert W. Malone (“Plaintiff” or “Dr. Malone”), by counsel,

 pursuant to Rule 3 of the Federal Rules of Civil Procedure (the “Rules”), files the

 following Complaint against Defendants, Peter R. Breggin, M.D. (“Breggin”), Ginger

 Ross Breggin (“Ginger Breggin”), America Out Loud, Dr. Jane Ruby (“Ruby”) and Red

 Voice Media, jointly and severally.

         Plaintiff seeks (a) compensatory damages and punitive damages in the total sum

 of $25,350,000.00, (b) prejudgment interest on the principal sum awarded by the Jury

 from July 27, 2022 to the date of Judgment at the rate of six percent (6%) per year

 pursuant to § 8.01-382 of the Virginia Code (1950), as amended (the “Code”), and (c)




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 court costs pursuant to Title 28 U.S.C. § 1920 – arising out of Defendants’ defamation,

 defamation by implication and insulting words.

                                  I. INTRODUCTION

        1.      Robert Malone is a licensed medical doctor living in Madison County,

 Virginia. He is a world-renowned scientist and expert in the field of mRNA technology.

 He was the leading contributor to the science exploited by Pfizer and other

 pharmaceutical corporations to create the alleged “vaccines” for the novel coronavirus

 (“COVID-19”). Beginning in July 2022, Defendants began to publish false statements,

 defamatory implications and insulting words about Dr. Malone in internet articles,

 podcast videos and via social media (Telegram and Twitter). Defendants falsely accused

 Dr. Malone of fraud, disinformation, dishonesty, deception, lying to the American public,

 lack of integrity, immorality and ethical improprieties.    The gist of the defamatory

 statements and implications is that Dr. Malone lacks the character and is unfit to be a

 medical doctor and scientist. Defendants’ statements (describe in haec verba below)

 exposed Dr. Malone to public ridicule, scorn, and contempt, and severely prejudiced him

 in his profession and employment.

        2.     In this case, Dr. Malone seeks presumed damages, actual damages for

 injury to reputation (past and future), insult, pain and mental anguish (past and future),

 special damages, including lost income, career damage and impairment of future earnings

 capacity, and punitive damages as a result of Defendants’ statements and actions.

                                      II. PARTIES

        3.      Dr. Malone is a citizen of Virginia. He is an internationally recognized

 scientist/physician and the original inventor of mRNA vaccination as a technology, DNA




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 vaccination, and multiple non-viral DNA and RNA/mRNA platform delivery

 technologies. He holds numerous fundamental domestic and foreign patents in the fields

 of gene delivery, delivery formulations, and vaccines: including for fundamental DNA

 and RNA/mRNA vaccine technologies. Dr. Malone has approximately 100 scientific

 publications with over 12,000 citations of his work (per Google Scholar with an

 “outstanding” impact factor rating).     He has been an invited speaker at over 50

 conferences, has chaired numerous conferences, and has sat on or served as chairperson

 on Health and Human Services (HHS) and Department of Defense (DoD) committees.

 He currently sits as a non-voting member on the National Institute of Health Accelerating

 COVID-19 Therapeutic Interventions and Vaccines (NIH ACTIV) committee, which is

 tasked with managing clinical research for a variety of drug and antibody treatments for

 COVID-19.      [https://www.nih.gov/research-training/medical-research-initiatives/activ].

 Dr. Malone received his medical degree from the Northwestern Feinberg School of

 Medicine. He completed the Harvard Medical School fellowship as a global clinical

 research scholar in 2016 and was scientifically trained at the University of California at

 Davis, the University of California at San Diego, and at the Salk Institute Molecular

 Biology and Virology laboratories. He has served as an assistant and associate professor

 of pathology and surgery at the University of California at Davis, the University of

 Maryland,    and    the   Armed     Forces       University   of   the   Health   Sciences.

 [https://www.rwmalonemd.com/]. Dr. Malone’s mission, as expressly disclosed on his

 website, is to ensure vaccine safety, make sure that children are protected, stop and/or

 limit harmful vaccine mandates, and identify and teach about life-saving treatments for

 COVID-19 and other pandemics. His goal is to save lives. Dr. Malone’s advocacy




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 started with his own experiences and concerns regarding the safety and bioethics of how

 the COVID-19 genetic vaccines were developed and forced upon the world.               He

 discovered short-cuts, database issues, obfuscation and, frankly, lies told in the

 development of the Spike protein-based genetic vaccines for SARS-CoV-2. Personal

 first-hand experiences identifying, developing, and trying to publish peer-reviewed

 academic papers focused on drug repurposing and the rights of physicians to practice

 medicine, as well as what he has seen close colleagues go through, further influenced him

 in his mission. Finally, as unethical mandates for administering experimental “vaccines”

 to adults and children began to be pushed by governments (and private employers), his

 research into authoritarian control by governments that are being manipulated by large

 corporations (including finance, pharmaceutical, media and technology companies)

 influenced his changing world view. Prior to publication of the false statements and

 defamatory implications at issue in this case, Defendants were well-aware of Dr.

 Malone’s expertise, experience and mission.       Defendants intentionally ignored Dr.

 Malone’s credentials and stature, and chose to impugn his standing in the medical and

 scientific communities. Defendants, inter alia, have undermined public confidence in Dr.

 Malone’s views and medical judgment, and have fraudulently and unjustly cast

 aspersions on his motives and associations.

        4.     Breggin and Ginger Breggin are citizens of New York. They are husband

 and wife. The Breggins own and operate a website, https://breggin.com/, on which they

 publish and advertise materials supportive of their view that America “is being taken

 down by a pack of bloodthirsty predators – frenzied over feasting upon the carcass of our

 great nation.” The Breggins produce and publish radio and internet shows, which they




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 use to broadcast false and defamatory statements to Virginia and elsewhere.         The

 Breggins also help operate America Out Loud, a website dedicated to informing America

 “of the evil politics and machinations of the Marxist Left.” America Out Loud broadcast

 and published in Virginia the Breggins’ statements about Dr. Malone (described below).

        5.      Ruby is, upon information and belief, a citizen of Florida. Ruby claims

 that she “is a medical professional and a pharmaceutical drug development expert with

 over 20 years of experience in regulatory processes for drug approval with the FDA and

 the EMA.” [https://drjaneruby.com/about/]. Ruby produces and broadcasts the “Dr. Jane

 Ruby Show” on the Stew Peters Network to over 436,000 subscribers in Virginia and

 elsewhere. [https://www.stewpeters.com/shows/]. In addition to her Internet show, Ruby

 operates    multiple   social   media   accounts,   including   a   Telegram    account

 [https://t.me/s/DrJaneRuby], where she boasts 108,000 subscribers from Virginia and

 elsewhere, and a Gab account [https://gab.com/drjaneruby] with over 17,400 followers.

 Ruby uses her Internet show and social media accounts to broadcast false and defamatory

 statements into Virginia to subscribers and users who pay Ruby for her unlawful content.

 On October 3, 2022, for instance, Ruby republished false and defamatory statements

 about Dr. Malone in a 54:38 minute episode that she titled, “Overcoming Psychopaths

 and Global Tyranny”. [https://rumble.com/v1miuec-live-7pm-overcoming-psychopaths-

 and-global-tyranny.html]. Ruby and the Breggins know no bounds or decency. They

 attack and defame anyone and everyone who disagrees with their theories about a new

 world order and global predators. In this case, the Breggins and Rudy initiated a smear

 campaign against Dr. Malone because Dr. Malone supported the views of a Belgian

 psychologist named Mattias Desmet (“Desmet”).




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        6.      Red Voice Media was founded in 2020 and is owned by Ray Dietrich and

 Zach Heilman, neither of whom is a citizen of Virginia. Ruby’s false and defamatory

 statements at issue in this case were broadcast and published in Virginia by Red Voice

 Media. In addition to Ruby, Red Voice Media publishes the Stew Peters Show. A

 bounty hunter (alleged) turned internet podcaster, Stew Peters (“Peters”) has accused Dr.

 Malone of being a “mass murderer” because Dr. Malone is an inventor of the mRNA

 technology that was used to create the COVID-19 “vaccines”. During a February 2, 2022

 show broadcast and published by Red Voice Media in Virginia, Peters stated, “Dr.

 Malone: All of the time that you’re spending on these podcasts and TV shows, hours with

 Joe Rogan, even here on the Stew Peters show, are you spending any time in the lab

 inventing the reversal to the carnage that you helped to invent that is now destroying

 humanity and killing all kinds of unborn babies and such?” [https://rumble.com/vtwkaf-

 live-400000-vaxx-abortions-j6-prisoner-live-from-dc-gulag-dr.-stella-hospit.html].     Like

 Ruby, Peters and Red Voice Media have falsely accused Dr. Malone of working with the

 “CIA” to kill people around the world. Red Voice Media follows the format and style of

 InfoWars and Alex Jones, and profits from the publication of scandalous fake news about

 medical professionals and others, stories without factual basis designed solely to shock

 the audience and destroy the reputation of the target, in this case Dr. Malone.

                           III. JURISDICTION AND VENUE

        7.      The United States District Court for the Western District of Virginia has

 subject matter jurisdiction over this action pursuant to Title 28 U.S.C. § 1332 (Diversity).

 The parties are citizens of different States. The amount in controversy exceeds the sum

 of $75,000, exclusive of interest and costs.




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        8.      Defendants are subject to specific personal jurisdiction in Virginia

 pursuant to Virginia’s long-arm statute, § 8.01-328.1(A)(1), (A)(3) and (A)(4), as well as

 the Due Process Clause of the United States Constitution. Defendants transact business

 and engage in a persistent, continuous and ongoing course of conduct in Virginia.

 Defendants have minimum contacts with Virginia such that the exercise of personal

 jurisdiction over them comports with traditional notions of fair play and substantial

 justice and is consistent with the Due Process Clause of the United States Constitution.

 Defendants targeted a Virginia medical professional and used the internet and social

 media to direct false and defamatory statements to a Virginia audience. Dr. Malone’s

 claims directly arise from and relate to Defendants’ publication of false and defamatory

 statements in Virginia, where Dr. Malone suffered injury to his reputation. Calder v.

 Jones, 465 U.S. 783 (1984); Keeton v. Hustler Magazine, Inc., 465 U.S. 770 (1984).

        9.      Venue is proper in this Court pursuant to Title 18 U.S.C. §§ 1391(b)(1)

 and (b)(2). The focus of the false statements, defamatory implications and insulting

 words is Virginia and key witnesses to Defendants’ defamation and Dr. Malone’s injuries

 reside in Virginia.

                       IV. STATEMENT OF MATERIAL FACTS

        10.     Within the past year, as part of a concerted effort to defame Dr. Malone

 and promote their own content, including the Breggin’s book, COVID-19 and the Global

 Predators: We are the Prey, Defendants published a series of false statements and

 defamatory implications in Virginia of or concerning Dr. Malone, including the

 following:




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      Ɣ     “Malone IS Dangerous. I knew from day one, this man is in the middle of
            every horrific thing that has happened to humanity. He is an operative
            running interference to keep this thing going. This is well worth your
            time to WATCH THE ENTIRE INTERVIEW of Dr. Peter Breggin.”
            https://t.me/PeterBreggin/86

      Ɣ     “Beware of Malone pushing this previously obscure and out of nowhere,
            Belgian psychoanalyst, Mattias Desmet. The two of them pushing this
            fraudulent ‘mass formation psychosis’. It’s really designed to criminalize
            the general public and perpetuate Ernest people in the health freedom
            movement as conspiracy theorists.”
            https://t.me/DrJaneRuby/7164

      Ɣ     “Robert Malone, campaigning around the world as a member of the health
            freedom movement, may be profoundly immersed in the Deep State of
            HHS, CDC, FDA, and Department of Defense. In the last five years, a
            period for which we have information, ending in 2017, Malone obtained
            and managed $9.5 billion in government contracts. Now he is a member
            of the new NIH agency ACTIV which promotes the Great Reset by
            bringing together multiple powerful US agencies — from the NIH, FDA,
            CDC, and DoD with the Bill & Melinda Gates Foundation, and ultimately
            with a dozen of the top pharmaceutical companies, including Gilead,
            GlaxoSmithKline, Johnson & Johnson, Merck & Co., Inc., Moderna,
            Novartis, Novavax, Pfizer.”
            https://t.me/DrJaneRuby/7165

      Ɣ     “Breggin makes some key points: Malone was never part of any freedom
            or liberty movement prior to the covid scam. In fact he’s the opposite.
            He’s admitted to voting for Obama and Hillary. And his connections and
            associations are 100% CIA/DOD/intelligence community. That’s NOT
            the origins of the Health freedom movement. And now he’s positioning
            himself as the ‘leader of the health freedom movement’ And posing as
            some sort of conservative freedom movement guru? NOT”.
            https://t.me/DrJaneRuby/7166

      Ɣ     “The synonymous concepts of mass formation, mass hypnosis, and mass
            psychosis have an obvious damaging impact on the international health
            freedom movement and on the cause of liberty everywhere. These
            concepts take our eyes off the totalitarian global predators who are taking
            over and exploiting humanity. They restrain us from charging these
            predators with criminal conspiracy if we win the battle with them. The
            pernicious effects of the Desmet/Malone ideology came fully into light
            with the recent publication of Desmet’s The Psychology of Totalitarianism
            and Malone’s continuing efforts in support of mass psychosis.”
            https://breggin.com/Threats-from-the-Desmet-Malone-Mass-Formations-
            and-Mass-Psychosis; https://t.me/DrJaneRuby/7167



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      Ɣ     “Whether Desmet or Malone consciously intended it, their ideology has
            seriously harmful effects similar to a psyops — a psychological operation
            — aimed at paralyzing the health freedom movement and freedom
            movements worldwide.”
            https://breggin.com/article-detail/post_detail/The-Desmet-Malone-
            Ideology-of-Mass-Psychosis-Blames-the-Citizens-and-Not-the-Global-
            Predators

      Ɣ     “The Desmet/Malone concepts are a dangerous smokescreen that blinds us
            to the real threat against all of us — organized totalitarian globalists.”
            https://breggin.com/article-detail/post_detail/Mass-Formation-and-Mass-
            Psychosis-A-False-and-Dangerous-Concept-that-Threatens-Our-Freedom

      Ɣ     Dr. Malone is orchestrating a “psyop against the people”.
            https://rumble.com/v1j48gd-dr.-jane-ruby-show-mass-formation-
            psychosis-is-a-psyop-against-the-people.html

      Ɣ     Dr. Malone is the “chief supporter” of Mattias Desmet, “a leading
            apologist for political mass murderers”.
            https://www.americaoutloud.com/psychotherapist-mattias-desmet-failed-
            to-report-his-own-mass-murderer-patient/

      Ɣ     “Desmet and Malone’s [mass formation psychosis] concept deflect,
            discourage and undermine attempts to place the blame directly on global
            predators who have been committing mass murder under the guise of
            COVID-19.”

      Ɣ     Dr. Malone was “in the middle of” the “suppression of
            hydroxychloroquine”. Dr. Malone is engaged in deliberate “fraud” to
            “blind us to the predators”. “He’s a protector of the predators’.
            https://rumble.com/v1jn8xy-doctor-robert-malone-.html

      Ɣ     Dr. Malone has “really got a conspiracy going with Mathias Desmet”.
            Mass formation psychosis has “no scientific basis at all Clay. Zero.” Dr.
            Malone’s goal is “blinding us to who is really the problem – the problem
            is empire builders”. Dr. Malone’s goal is to protect the “elite”, “the
            people in power”. “It’s a very serious accusation”.
            https://rumble.com/v1iiqxz-doctor-peter-breggin-dr.-breggin-asks-why-is-
            doctor-malone-a-partner-in-nih.html

      Ɣ     Dr. Malone is part of the “Deep State” oppressors. Dr. Malone’s concept
            of mass formation psychosis is calculated to protect the “mass murderers
            of COVID-19.” Dr. Malone is a Hitler apologist and “excuser”: “Malone
            wake up to history”.
            https://rumble.com/v1k50qf-dr.-breggin-dr.-malone-and-dr.-desmet-are-
            part-of-the-deep-state-and-trying.html



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         Ɣ       Dr. Malone is responsible for the “COVID Plandemic” and has
                 intentionally committed crimes against humanity.         Dr. Malone is
                 “weaponizing psychiatry” against the American public.
                 https://rumble.com/v1l4q4f-psychiatric-doctor-blasts-mrna-inventor-mass-
                 formation-psychosis-blaming-yo.html

  (each a “Statement”, and collectively, the “Statements”).

         11.     The Statements are completely fabricated. The defamatory gist of the

  Statements is that Dr. Malone is a fraud, i.e., that he is “controlled opposition”,1 that he is

  misrepresenting himself, that he is really part of the cabal of “totalitarian global

  predators” who are taking over and exploiting humanity, that he is engaged in

  psychological operations on the American people, that he is engaged in a disinformation

  campaign, and that he is covering up a conspiracy by global elites to wipe out humanity.

         12.     The Statements represent an egregious attack on Dr. Malone’s character,

  experience, standing in the medical community and the truth.             The Statements are

  materially false and unjustifiable. The qualities disparaged – Dr. Malone’s honesty,

  veracity, integrity, competence, judgment, morals and ethics as a licensed medical doctor

  – are peculiarly valuable to Dr. Malone and are absolutely necessary in the practice and

  profession of any medical doctor.          Defendants ascribe to Dr. Malone conduct,

  characteristics and conditions, including misinformation, disinformation, and dishonesty,

  that adversely affect his fitness to be a medical professional and to conduct the business

  of a medical doctor.

         13.     On September 26, 2022, Dr. Malone served written notice advising that

  the Statements were false and defamatory. Dr. Malone demanded that the Statements be

  retracted and/or corrected and removed from the Internet. The Breggins and Ruby


         1
                “Controlled opposition” is a person who pretends to oppose the
  establishment while covertly serving it.


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  refused to retract or to make any corrections.    The Breggins and America Out Loud

  chose to increase Dr. Malone’s damages by republishing the Statements. [See, e.g.,

  https://www.americaoutloud.com/dr-robert-malone-attacks-and-maligns-leading-

  freedom-fighters/ (“Malone’s Deep State connections, which enabled him to gather 10

  billion dollars in grants in one five-year period, have almost certainly made him a multi-

  millionaire. Despite his wealth, which in some people produces humility and a desire to

  help, Malone wants to malign two men who continue to give so much to the freedom

  health movement and hamper their efforts to participate in an honorable and highly

  ethical business … Malone’s agenda goes beyond supporting the dangerous concept

  of ‘mass psychosis.’ It now appears that he is trying, one by one, to take down the

  leadership of the health freedom movement.”).2

                               COUNT I – DEFAMATION

         14.     Dr. Malone restates paragraphs 1 through 13 of this Complaint, and

  incorporates them herein by reference.

         15.     Defendants made, published and republished numerous false factual

  Statements of and concerning Dr. Malone. These false Statements are detailed verbatim

  above. Defendants published the false Statements without privilege of any kind.

         16.     The Statements are materially false.      Dr. Malone is not controlled

  opposition.   He does not work for and has no connection to the CIA/DOD or the

  intelligence community. He is not an operative of any government or organization. He

  has never orchestrated a “psyop”.        Dr. Malone does not and never has supported

  totalitarian global predators. He does not and never has supported global predators who


         2
                 Breggin claims he is part of a “health freedom movement”. In truth,
  Breggin’s references to a “health freedom movement” are a delusion of grandeur.


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  have been committing mass murder under the guise of COVID-19. He is not dangerous.

  He is not a supporter of any apologist for political mass murderers. He is not a Hitler

  apologist and/or a Hitler “excuser”. Dr. Malone has not ever engaged in fraud and is not

  engaged in deliberate fraud to blind anyone to any “predators”. He is not a “protector” of

  any “predators”.    He does not and never has promoted baseless scientific theories.

  Comparing the Statements to the truth, it is beyond peradventure that the Statements are

  materially false. Compare Nunes v. W.P. Company, 2021 WL 3550896, at * 4 (D. D.C.

  2021) (“A reasonable juror could conclude that there is a material difference between

  stating that Nunes had made a claim supported by evidence (that the Obama

  administration had undertaken intelligence activities related to individuals involved in the

  Trump campaign) and stating that Nunes had made a baseless claim (that the Obama

  administration had wiretapped Trump Tower).           A reasonable juror could therefore

  conclude that the article was materially false because it stated that Nunes had made such

  a baseless claim (when he had not).”); see also Bustos v. A&E Networks, 646 F.3d 762,

  767 (10th Cir. 2011) (Gorsuch, J.) (“Comparing the challenged defamatory statement

  (membership in the Aryan Brotherhood) to the truth (conspiring with and aiding and

  abetting the Aryan Brotherhood), we cannot see how any juror could find the difference

  to be a material one—that is, likely to cause a reasonable member of the general public to

  think significantly less favorably of Mr. Bustos”).

         17.     The false Statements constitute defamation per se. The statements accuse

  and impute to Dr. Malone an unfitness to perform the duties of an office or employment

  for profit, or the want of integrity in the discharge of the duties of such office or

  employment, including disinformation, misinformation, deception, dishonesty, deceit,




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  fraud, malfeasance, malpractice, lack of ethics, lack of veracity, and independently

  tortious acts. The Statements are highly prejudicial to Dr. Malone in his profession and

  employment as a medical doctor and scientist.

           18.   By appearing on podcasts3 and by publishing the Statements on the

  Internet, including to their social media followers, Defendants knew or should have

  known that the Statements would be republished over and over by third-parties to Dr.

  Malone’s detriment.     Republication was the natural and probable consequence of

  Defendants’ actions and was actually and/or presumptively authorized by Defendants. In

  addition to their original publications online and via social media, Defendants are liable

  for the millions of republications of the false and defamatory statements by third-parties

  under the republication rule. Weaver v. Beneficial Finance Co., 199 Va. 196, 199-200, 98

  S.E.2d 687 (1957); Moore v. Allied Chemical Corp., 480 F.Supp. 364, 376 (E.D. Va.

  1979).

           19.   Defendants’ Statements harmed Dr. Malone and his reputation, causing

  presumed damages, actual damages, special damages and pecuniary loss. In addition to

  the pain, suffering, insult, embarrassment, humiliation, and injury to his personal and

  professional reputations, publication of the Statements caused Dr. Malone to lose

  business and income, lost public appearances due to perceived reputational risk, and other

  special damages, including career damage, including loss of future employment, loss of

  future earnings, impaired and diminished earning capacity, and impact upon his prospects




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                The podcasts that Defendants appeared on had hundreds of thousands,
  perhaps millions, of subscribers, including audiences in Virginia. The “Stew Peters
  Network” alone had 436,000 subscribers at the time Defendants published the false and
  defamatory Statements.


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  for career advancement. In sum, Dr. Malone has suffered damage to his property,

  business, trade, profession and occupation because of Defendants’ defamation.

         20.     An accumulation of facts and evidence demonstrates that Defendants

  published the Statements with knowledge of falsity or reckless disregard for the truth.

  Prior to publication of the Statements, Defendants knew the Statements were false and

  harbored serious doubts as to the veracity of the Statements. First, Defendants researched

  and reviewed Dr. Malone’s website, substack, public appearances and his professional

  observations and comments prior to publication of the Statements, including in the

  Global COVID Summit Declaration IV.          Based upon their prior knowledge of Dr.

  Malone’s public comments and positions, Defendants knew the Statements were false.

  They knew the events never happened and that Dr. Malone did not hold the views and

  beliefs and did not take the actions that Defendants ascribed to him.          Defendants

  fabricated the Statements out of whole cloth. [St. Amant v. Thompson, 390 U.S. 727, 732

  (1968) (“Professions of good faith will be unlikely to prove persuasive, for example,

  where a story is fabricated by the defendant [or] is the product of his imagination”)].

  Second, given Dr. Malone’s stature, which was well-known to Defendants by, inter alia,

  their review of Dr. Malone’s website, substack and public appearances, Defendants knew

  that the Statements were so improbable that only a reckless person would put the

  Statements in circulation. [St. Amant, 390 U.S. at 732 (“Professions of good faith will be

  unlikely to prove persuasive, for example, … when the publisher’s allegations are so

  inherently improbable that only a reckless man would have put them in circulation.”); US

  Dominion, Inc. v. Powell, 554 F.Supp.3d 42, 63 (D. D.C. 2021) (“a reasonable juror

  could conclude that the existence of a vast international conspiracy that is ignored by the




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  government but proven by a spreadsheet on an internet blog is so inherently improbable

  that only a reckless man would believe it.”); Stern v. Cosby, 645 F.Supp.2d 258, 279

  (S.D.N.Y. 2009) (“printing a claim that Birkhead and Stern had sex would be a way to

  make it to the top of the bestseller list, and a reasonable jury could find that Cosby

  ignored the inherently improbable nature of the Statement in her zeal to write a

  blockbuster book”)]. Third, Defendants brazenly republished the false and defamatory

  Statements about Dr. Malone even after they were notified that Dr. Malone contended in

  a lengthy letter that the Statements were false and defamatory. This is evidence of actual

  malice. [See, e.g., Nunes v. Lizza, 12 F. 4th 890, 901 (8th Cir. 2021) (“‘Republication of a

  statement after the defendant has been notified that the plaintiff contends that it is false

  and defamatory may be treated as evidence of reckless disregard.’”)]. Finally, as is plain

  from the words themselves, Defendants harbor extreme spite and ill-will towards Dr.

  Malone.    Defendants were and are eager to attribute murder, violence, extremism,

  immorality and unethical behavior to Dr. Malone in order to inflict harm upon him. This

  provides further evidence of actual malice. [Celle v. Filipino Reporter Enters., Inc., 209

  F.3d 163, 186 (2nd Cir. 2000) (“Plaintiff introduced sufficient circumstantial evidence to

  establish clearly and convincingly that defendant Pelayo entertained serious doubts about

  the truth of the headline ‘US judge finds Celle ‘negligent.’ This conclusion is based in

  part on evidence indicating ill will and personal animosity between Celle and Pelayo at

  the time of publication”); ExpertConnect, LLC v. Fowler, 2020 WL 3961004, at * 3

  (S.D.N.Y. 2020) (plaintiff alleged that the defendants “‘engaged in a concerted effort to

  deliberately disparage the business reputations of Fowler, Parmar, and Strafluence with

  false statements’ that they had committed a serious crime and were under investigation.




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  These statements were made ‘with full knowledge of their falsity’ because ‘[t]here has

  never been any criminal action commenced against Fowler or Parmar, no investigation of

  any sort and, to be sure, no allegations of criminal conduct.’”)]. Defendants fabricated

  the sensational narrative about Dr. Malone to promote and profit from the scandal,

  including to sell the Breggin’s book. They circulated the false Statements and appeared

  on podcast after podcast with the goal of damaging Dr. Malone’s reputation. [See

  Tomblin v. WCHS-TV8, 2011 WL 1789770, at * 5 (4th Cir. 2011) (unpublished) (“on the

  question of whether WCHS-TV8 deliberately or recklessly conveyed a false message to

  sensationalize the news and thus to provide factual support for a finding of malice, there

  are disputed facts”)].

         21.     As a direct result of Defendants’ defamation, Dr. Malone suffered

  presumed damages, actual damages and special damages, including, but not limited to,

  insult, pain, embarrassment, humiliation, mental suffering, injury to his reputation, loss of

  business and income, career damage, lost future earnings, costs and other out-of-pocket

  expenses, in a sum to be determined by the Jury, but not less than $25,000,000.00.

                     COUNT I – DEFAMATION BY IMPLICATION

         22.     Dr. Malone restates paragraphs 1 through 21 of this Complaint, and

  incorporates them herein by reference.

         23.     The strong gist and implication of the Statements is that Dr. Malone is

  intentionally dishonest, deceitful, immoral, unethical and dangerous, and that he is unfit

  to practice medicine.

         24.     Defendants carefully chose their words and purposefully misrepresented

  facts, including Dr. Malone’s professional associations and goals. In the Statements,




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  Defendants juxtaposed a series of facts so as to imply a defamatory connection between

  them, including that Dr. Malone had ulterior motives and that he apologized for predators

  and Hitler. In addition, Defendants left out material facts, including the scientific basis of

  Dr. Malone’s statements and his true affiliations, in a way that intentionally conveyed a

  false meaning and that rendered the challenged Statements defamatory. The Statements’

  repeated emphasis upon intelligence operations, disinformation, “fraud”, as-yet

  unidentified “global predators”, and the manner in which the Statements present the

  discussion about Dr. Malone, including the use of photographs and select video clips of

  Dr. Malone, permits a plausible inference that Defendants intended or endorsed the

  defamatory implication.

         25.     Defendants’ Statements constitute defamation by implication.

         26.     As a direct result of Defendants’ defamation by implication, Dr. Malone

  suffered presumed damages, actual damages and special damages, including, but not

  limited to, insult, pain, embarrassment, humiliation, mental suffering, injury to his

  reputation, loss of business and income, career damage, lost future earnings, costs and

  other out-of-pocket expenses, in a sum to be determined by the Jury, but not less than

  $25,000,000.00.

                            COUNT III – INSULTING WORDS

         27.     Dr. Malone restates paragraphs 1 through 26 of this Complaint, and

  incorporates them herein by reference.

         28.     Defendants’ insulting words, in the context and under the circumstances in

  which they were spoken and written, tend to violence and breach of the peace. Like any




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  reasonable person, Dr. Malone was humiliated, disgusted, angered and provoked by the

  insulting words.

         29.     Defendants’ words, including their direct and powerful accusations of

  murder, killing, disinformation and “fraud”, levelled at an acknowledged medical expert,

  are fighting words, which are actionable under § 8.01-45 of the Code.

         30.     As a direct result of Defendants’ insulting words, Dr. Malone suffered

  presumed damages, actual damages and special damages, including, but not limited to,

  insult, pain, embarrassment, humiliation, mental suffering, injury to his reputation, loss of

  business and income, career damage, lost future earnings, costs and other out-of-pocket

  expenses, in a sum to be determined by the Jury, but not less than $25,000,000.00.



         Dr. Malone alleges the foregoing based upon personal knowledge, public

  statements of others, and records in his possession.         He believes that substantial

  additional evidentiary support, which is in the exclusive possession of Defendants and

  their agents and other third-parties, will exist for the allegations and claims set forth

  above after a reasonable opportunity for discovery.

         Dr. Malone reserves his right to amend this Complaint upon discovery of

  additional instances of Defendants’ wrongdoing.



                     CONCLUSION AND REQUEST FOR RELIEF

         WHEREFORE, Dr. Malone respectfully requests the Court to enter Judgment

  against Defendants, jointly and severally, as follows:




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         A.     Compensatory damages in a sum determined by the Jury, but not less than

  $25,000,000.00;

         B.     Punitive damages in an amount to be determined by the Jury, but not less

  than $350,000.00;

         C.     Prejudgment interest at the rate of six percent (6%) per annum until paid;

         D.     Postjudgment interest at the maximum rate allowed by law;

         E.     Costs and other recoverable amounts as allowed by law;

         F.     Such other relief as is just and proper.



                           TRIAL BY JURY IS DEMANDED



  DATED:        October 30, 2022



                               DR. ROBERT W. MALONE



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